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 EXHIBIT 10
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 1         Dated: November 10, 2021.        Respectfully submitted,
 2                                          /s/ Marc J. Randazza
                                            Marc J. Randazza (AZ Bar No. 027861)
 3                                          RANDAZZA LEGAL GROUP, PLLC
 4                                          2764 Lake Sahara Drive, Suite 109
                                            Las Vegas, NV 89117
 5
                                            Attorneys for Defendants
 6                                          Audrey Davis and John Doe Davis
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                              Notice of Supplemental Documentation
                                       P1300CV202100396
     Case 3:21-cv-08249-DLR Document 24-10 Filed 01/11/22 Page 4 of 26




 1                                                              Case No. P1300CV202100396
 2                             CERTIFICATE OF SERVICE
 3         I HEREBY CERTIFY that on this 10 day of November 2021, I served a true and
 4 correct copy of the foregoing document via the Arizona Court’s electronic filing system.
 5
                                             /s/ Marc J. Randazza
 6                                           Randazza Legal Group, PLLC
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                               Notice of Supplemental Documentation
                                      P1300CV202100396
     Case 3:21-cv-08249-DLR Document 24-10 Filed 01/11/22 Page 5 of 26




 1 Marc J. Randazza (AZ Bar No. 027861)
 2
   RANDAZZA LEGAL GROUP, PLLC
   2764 Lake Sahara Drive, Suite 109
 3 Las Vegas, NV 89117
   Telephone: 702-420-2001
 4 ecf@randazza.com
 5 Attorneys for Defendants
     Audrey Davis and John Doe Davis
 6
 7                         SUPERIOR COURT, STATE OF ARIZONA
                            IN AND FOR THE COUNTY OF YAVAPAI
 8
 9
      RHONDIE VOORHEES, an individual,               Case No. P1300CV202100396
10
                     Plaintiff,                      Dept. 2
11
         v.                                          NOTICE OF FILING EVIDENCE
12
13
      AUDREY DAVIS, an individual, and
      JOHN DOE DAVIS, an individual
14
                     Defendant.
15
16            PLEASE TAKE NOTICE that Defendant Audrey Davis hereby files the Declaration
17 of Anne Fairchild Smith in support of Defendant’s Opposition to Motion to Strike Audrey
18 Davis’ Motion to Deem Clerk’s Default Void or, in the Alternative, to set it aside.
19            During the hearing on Tuesday, October 26, 2021, the Court requested the filing of
20 additional evidence prior to the hearing scheduled for Tuesday, December 14, 2021. The
21 attached documentation appears to fill the gaps in the analysis, which was of concern to
22 the Court. The Court stated that it would set aside the default if provided with this
23 documentation. In the event that the Court feels that this is insufficient to support setting
24 aside the default, the Defendant respectfully requests a brief telephonic status conference
25 with the Court.
26
27
                                                  -1-
                                  Notice of Supplemental Documentation
                                         P1300CV202100396
     Case 3:21-cv-08249-DLR Document 24-10 Filed 01/11/22 Page 6 of 26




 1         Dated: November 10, 2021.        Respectfully submitted,
 2                                          /s/ Marc J. Randazza
                                            Marc J. Randazza (AZ Bar No. 027861)
 3                                          RANDAZZA LEGAL GROUP, PLLC
 4                                          2764 Lake Sahara Drive, Suite 109
                                            Las Vegas, NV 89117
 5
                                            Attorneys for Defendants
 6                                          Audrey Davis and John Doe Davis
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                              Notice of Supplemental Documentation
                                       P1300CV202100396
     Case 3:21-cv-08249-DLR Document 24-10 Filed 01/11/22 Page 7 of 26




 1                                                              Case No. P1300CV202100396
 2                             CERTIFICATE OF SERVICE
 3         I HEREBY CERTIFY that on this 10 day of November 2021, I served a true and
 4 correct copy of the foregoing document via the Arizona Court’s electronic filing system.
 5
                                             /s/ Marc J. Randazza
 6                                           Randazza Legal Group, PLLC
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                               Notice of Supplemental Documentation
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         7                           SUPERIOR COURT, STATE OF ARIZONA
                                      IN AND FOR THE COUNTY OF YAVAPAI
         8
         9
              RHONDIE VOORHEES, an individual,                      Case No. P1300CV202100396
        10
                              Plaintiff,                            Dept. 2
        11
                  v.                                                DECLARATION OF
        12                                                          ANNE FAIRCHILD SMITH
              AUDREY DAVIS, an individual, and
        13
              JOHN DOE DAVIS, an individual
        14
                              Defendant.
        15
        16             I, ANNE FAIRCHILD SMITH, declare:
        17             1.    I am over 18 years of age and have never been convicted of a crime involving
        18 fraud or dishonesty. I have first-hand knowledge of the facts set forth herein, and if called
        19 as a witness could and would testify competently thereto.
        20
                       2.    I am the Human Resources Assistant for the United States Army ROTC
        21
             program at Embry-Riddle Aeronautical University (ERAU).
        22
                       3.    I am the most knowledgeable person about ROTC members at ERAU.
        23
                       4.    I am the Custodian of Records for the ERAU ROTC Cadre.
        24
                       5.    At the request of Audrey Davis, I provided her with a copy of her DD Form 4,
        25
             which is her enlistment contract with the United States Army. A true and correct copy of
        26
        27 the form, redacted for privacy, is attached hereto as Exhibit 1.
        28                                                      -1-
                                                             Declaration
                                                       P1300CV202100396
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         1           6.      At the request of Audrey Davis, I provided her with a copy of her DA Form
         2 597-3, which is her Army Senior Reserve Officers’ Training Corps (ROTC) Scholarship
         3 Cadet Contract. A true and correct copy of the form, redacted for privacy, is attached
         4
             hereto as Exhibit 2.
         5
                     7.      I am aware that there is some question as to whether Audrey’s official
         6
             military orders, attached as Exhibit 3, are “real” orders – meaning, the question is whether
         7
             Audrey had the option of ignoring them. She did not have that option. These orders are
         8
             orders. They are not suggestions, nor invitations, but orders.
         9
        10
                     8.      Had Audrey not gone to the training required in these orders she would have

        11 been subject to military discipline, including potential jail time.
        12
        13           I declare under penalty of perjury that the forgoing is true and correct.
        14           Executed on _________________.
                                 11/10/2021

        15
        16                                                        Anne Fairchild Smith
        17

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                                                             Declaration
                                                       P1300CV202100396
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                   Case 3:21-cv-08249-DLR Document 24-10 Filed 01/11/22 Page 10 of 26




                                              EXHIBIT 1
                                                       DD Form 4
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                       Case 3:21-cv-08249-DLR Document 24-10 Filed 01/11/22 Page 11 of 26



                                                        ENLISTMENT/REENLISTMENTDOCUMENT
                                                        ARMEDFORCES OF THE UNITEDSTATES
                                                                 PRIVACY ACT STATEMENT
         AUTHORITY: 6 U.S.C. 3331; 10 U.S.C. 113, 136, 502. 504.505.506, 507, 508, 509.510, 513, 515, 516, 518, 519, 972, 978, 2107, 2107a, 3253,
         3268.3262,   5540.8252,   8253, 8257.8258,   12102, 12103, 12104, 12105, 12106, 12107, 12108, 12301, 12302, 12304, 12305, 12405; 14 USC    351,
         632; 32 U.S.C, 301, 302, 303, 304; and Executive order 9397, November 1943 (SSN).
         PRINCIPAL PURPOSE(S): To record enlistment Of reenlistment into the U.S. Armed Forces. This informationbecomes a part of the subject's
         military peßonnel records which are used to document promotion, reaosignmont, training, medical support, and other pergonnel management
         actions, The purpose of soliciting the SSN is for positive identification.
         ROUTINE USE(S): This form becomes a part Of the Service's Enlisted Master File and Field Personnel File, All uses of the form are internalto the
         relevant Setvice.
         DISCLOSURE:       Voluntary; however, failure to furnish personal identificationinformationmay negate the enlistment/reonlistrnentapplication.
                                                  A. ENLISTEE/REENLISTEE IDENTIFICATIONDATA
            NAME (Last,                                                            2. SOCIAL SECURITY NUMBER
          Davis. Audrey, Elizabeth
         3. HOME OF RECORD (Street.C, . County,State,County,ZIP Code)              4. PLACE OF ENLISTMENT/REENLISTMENT (MilIn,tallation,   City,state)
          1103 OvreClit1'Dr., Apex, NC $502                                        US Army ROTC, Northern Arizona University, Flagstaff, AZ 86011

         S. DATE OF ENLISTMENT/     6. DATE OF BIRTH (YYYYMMDD) 7. PREV MIL SVC UPON ENWREENLIST                                 YEARS MONTHS DAYS
            REENLISTMENT (YYYYMMDD)                             a. TOTAL ACTIVE MILITARY SERVICE
                      201* 1021                                       4            b. TOTAL INACTIVE MILITARY SERVICE
                                                                       B. AGREEMENTS
          8. I am enlisting/reenlisting in the United States (list branchof service)                        Army Reserve
          this date for         8             years and                           weeks beginning in pay grade                      of which
                             years and            o        weeks is considered an Active Duty Obligation, and           O         years and
                  o          weeks will be served in the Reserve Component of the Service in which I have enlisted. If this is an initial
          e7EfiäTTüt         serve a total of eight (8) years, unless I am sooner discharged or otherwiseextended by the appropriate
          authority. This eight year service requirementis called the MilitaryService Obligation. The additionaldetails of my enlistment/
                         are in         nC
           DA FORM 597-3

          a. FOR ENLISTMENT IN A DELAYED ENTRY/ENLISTMENTPROGRAM (DEP):
          I understand that I am joining the DEP. I understand that by joining the DEP I am enlisting in the Ready Reserve component of the
          United States (list branch of service)                                                                            for a period not to exceed
          365 days, unless this period of time is otherwiseextended by the ecretary concerned. While n the DEP, I understand that I am in
          a nonpay status and that I am not entitled to any benefits or privileges as a member of the Ready Reserve, to include, but not
          limited to medical care, liability insurance, death benefits, education benefits, or disability retired pay if I incur a physical disability. I
          understand that the period of time while I am in the DEP is NOT creditable for pay purposes upon entry into a pay status. However,
          I also understand that the period of time while I am in the DEP is counted toward fulfillmentof my military service obligation
          described in paragraph 10, below. Mile in the DEP, I understand that I must maintain my current qualifications and keep my
          recruiter infomed of any changes in my physical or dependency status, qualifications, and mailing address. I understand that I
          VMLL be ordered to active duty unless I report to the place shown in item4 above by (listdate(YYYYMMDD))
          for enlistment in the Regular component of the United States (listbranchof service)
          for not less than                   years and              weeks.
          b. REMARKS: (ffnone,sostate.)



          "Authority AR 145-1, USAR Control Group (ROTC)"




                                                      DA form 597-3
          c. The agreements in this section and                            are all the promises made to me by tie Govemment. ANYTHING ELSE
          ANYONE HAS PROMISED ME IS NOT VALID AND WILL NOT BE HONORED.
          (It*Ws of Enlistee-Reenåstee)                                                                                               Continued on Page 2
         DD FORM 4/1, OCT 2007                               PREVIOUS EDITIONIS OBSOLETE.                                                                   0.0
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                                               C. PARTIAL STATEMENTOF EXISTING UNITEDSTATES LAWS
          9. FOR ALL ENLISTEES OR REENLISTEES:                                        d. As a member of the Ready Reserve (to include Delayed
               I understand that many laws, regulations, and military customs      Entry Program), in time of national emergency declared by the
          will govem my conduct and require me to do things under this             President, I may, withoutmy consent, be ordered to serve on
          agreement that a civilian does not have to do. I also understand         active duty, and my militaryservice may be extended without
          that various laws, some of which are listed in this agreement,           my consent, for not more than 24 consecutive months (10
          directlyaffect this enlistment/reenlistmentagreement. Some               U.S.C. 12302 . My enlistmentmay be extended during this
          examples of how existing laws may affect this agreement are              period withou my consent (see paragraph log).
          explained in paragraphs 10 and 11. I understand that I cannot
          change these laws but that Congress may change these laws, or               e. As a member of the Ready Reserve, I may, at any time
          pass new laws, at any time that may affect this agreement, and that      and withoutmy consent, be ordered to active duty to complete
          I will be subject to those laws and any changes they make to this        a total of 24 months of active duty, and my enlistment may be
          agreement I further understand that:                                     extended so I can completethe total of 24 months of active
                                                                                   duty, if:
             a. My enlistment/reenlistmentagreement is more than an
          employment agreement. It effects a change in status from civilian to        (1) I am not assigned to, or participating unsatisfactorily in,
          military member of the Armed Forces. As a member of the Armed            a unit of the Ready Reserve; and
          Forces of the United States, I will be:
                                                                                      (2) I have not met my Reserve obligation; and
             (1) Required to obey all lawfulorders and perform all assigned
          duties.                                                                    (3) I have not served on active duty for a total of 24
                                                                                   months (10 U.S.C. 12303).
              (2) Subject to separation during or at the end of my enlistment.
          If my behavior fails to meet acceptable military standards, I may be         f. As a memberof the Selected Reserve or as a member
          discharged and given a certificatefor less than honorableservice,        of the Individual Ready Reserve mobilizationcategory, when
          which may hurt my future job opportunities and my claim for              the President determines that it is necessary to augment the
          veteran's benefits.                                                      active forces for any operational mission or for certain
                                                                                   emergencies, I may, withoutmy consent, be ordered to active
             (3) Subject to the militaryjustice system, which means, among         duty for not more than 365 days (10 U.S.C. 12304). My
          other things, that I may be tried by militarycourts-martial.             enlistment may be extended during this period without my
                                                                                   consent(see paragraphlog).
              (4) Required upon order to serve in combat or other hazardous
          situations.                                                                 g. During any period members of a Reserve component
                                                                                   are serving on active duty pursuant to an order to active duty
              (5) Entitledto receive pay, allowances, and other benefits as        under authority of 10 U.S.C. 12301, 12302, or 12304, the
           provided by law and regulation.                                         President may suspend any provision of law relating to my
                                                                                   promotion, retirement, or separation from the Armed Forces if
             b. Laws and regulations that govem militarypersonnel may              he or his designee determines I am essential to the national
          change without notice to me. Such changes may affect my status,          security of the UnitedStates. Such an action may result in an
          pay, allowances, benefits, and responsibilities as a member of the       extension, withoutmy consent, of the length of service
          Amed Forces REGARDLESS of the provisions of this enlistment/             specified in this agreement. Such an extension is often called
          reenlishent document                                                     a "stop-loss"extension (10 U.S.C. 12305).
          10. MILITARY SERVICE OBLIGATION, SERVICE ON ACTIVE                           h. I may, withoutmy consent, be ordered to perform
          DUTY AND STOP-LOSS FOR ALL MEMBERS OF THE ACTIVE                         additional active duty training for not more than 45 days if I
          AND RESERVE COMPONENTS, INCLUDING THE NATIONAL                           have not fulfilled my military service obligation and fail in any
          GUARD.                                                                   year to perform the required training duty satisfactorily. If the
                                                                                   failureoccurs during the last year of my required membership
              a. FOR ALL ENLISTEES: If this is my initialenlistment,I must         in the Ready Reserves, my enlistmentmay be extended until I
          serve a total of eight (8) years, unless I am sooner discharged or       perform that additional duty, but not for more than six months
          otherwise extended by the appropriate authority. This eight year         (10 U.S.C. 10148).
          service requirementis called the MilitaryService Obligation. Any
          part of that service not served on active duty must be served in the     11.FOR ENLISTEES/REENLISTEES IN THE NAVY,
          Reserve Component of the service in which I have enlisted. If this is    MARINE CORPS, OR COAST GUARD: I understandthat if I
          a reenlishent, I must serve the number of years specified in this        am serving on a naval vessel in foreign waters, and my
          agreement, unless I am sooner discharged or otherwiseextended            enlistment expires, I will be returned to the United States for
          by the appropriate authority. Some laws that affect when I may be        discharge as soon as possible consistent with my desires.
          ordered to serve on active duty, the length of my service on active      However, if essential to the public interest, I understand that I
          duty, and the length of my service in the Reserve Component, even        may be retained on active duty until the vessel returns to the
          beyond the eight ears of my MilitaryService Obligation,are               United States. If I am retained under these circumstances, I
          discussed in the lollowingparagraphs.                                    understand I will be discharged not later than 30 days after my
                                                                                   return to the United States; and, that except in time of war, I
                b. I understand that I can be ordered to active duty at any time   will be entitledto an increase in basic pay of 25 percent from
           while I am a member of the DEP. In a time of war, my enlistment         the date my enlistment expires to the date of my discharge.
           may be extended withoutm consent for the duration of the war and
           for six months after its end 10 U.S.C. 506, 12103(c)).          12. FOR ALL MALE APPLICANTS: Completionof this form
                                                                           constitutesregistrationwiththe Selective Service System in
               c. As a member of a Reserve Component of an Armed Force, in accordance Withthe MilitarySelective Service Act. Incident
           urne of war or of national emergency declared by the Congress, I        thereto the Department of Defense may transmit my name,
           may, without my consent, be ordered to serve on active duty, for the    permanent address, military address, Social Security Number,
           entre period of the war or emergency and for six (6) months after its   and birthdateto the Selective Service System for recording as
           end (10 U.S.C. 12301(a)). My enlistrnentmay be extended during          evidence of the registration.
           this period withoutmy consent (10 U.S.C. 12103(c)).


            (India's of Enlistee/ReenIistee)
          DD FORM 4/1 (PAGE 2), OCT 2007
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                        Case 3:21-cv-08249-DLR Document 24-10 Filed 01/11/22 Page 13 of 26



          NAME OF ENLISTEE/REENLISTEE (Last,First,Middle)                                     SOCIAL SECURITY NO. OF ENLISTEE/REENLISTEE
          Davis, Audrey, Elizabeth
                                                      D. CERTIFICATION AND ACCEPTANCE

           13a. My acceptance for enlistmentis based on the informationI have given in my applicationfor enlistment. If any of that
           information is false or incorrect, this enlistment may be voided or terminated administratively by the Government or I may be tried
           by a Federal, civilian, or military court and, if found guilty, may be punished.

           I certify that I have carefully read this document, including the partial statement of existing United States laws in Section
           C and how they may affect this agreement. Any questions I had were explained to my satisfaction. I fully understand
           that only those agreements in Section B and Section C of this document or recorded on the attached annex(es) will be
           honored. I also understandthat any other promises or guarantees made to me by anyone that are not set forth in
           Section B or the-attaehed-aen%fee+arenot effective and will not be honored. DA FORM 597-3
          b. SIGNATURE OF ENLISTEE/REENLI*T E                                                 c. DATE SIGNED (YYYYMMDD)
                                                                                                                     20191021

          14.SERVICE         PRESENTA       E CERTIFICATION
          a. On behalf the United S es (listbranchof service)
          I accept this applicant for enlistment. I have witnessed the signature in item 13b to this document. I certify that I have explained
          that only those agreements in Section B of this form and in                         will be honored, and any other promises made
          by any person are not effectiveand will not be honored. DA FORM 597-3
          b. NAME(Last,First,Middle)                            c. PAY GRADE              d. N TICOMMAND NAME
           SARTORI, TIMOTHYEMILE                                            0-5                US Army ROTC, Northern Arizona University
          e. SIGNATURE                                            f. DATE SIGNED              g. UNIT/COMMAND ADDRESS          (City, state, ZIP Code)
                                                                    (YYYYMMDD)
                                                                          20191021             FLAGSTAFF, AZ 86011-6043

                                           E. CONFIRMATIONOF ENLISTMENT OR REENLISTMENT
         15. IN THE ARMED FORCES EXCEPT THE NATIONAL GUARD (ARMY OR AIR):
              l, AUDREY ELIZABETH DAVIS                                           , do solemnly swear (or affirm) that I will support and defend
         the Constitution of the United States against all enemies, foreign and domestic; that I will bear true faith and allegiance to the same;
         and that I will obey the orders of the President of the United States and the orders of the officers appointed over me, according to
         regulations and the Uniform Code of Military Justice. So help me God.

         16. IN THE NATIONALGUARD (ARMY OR AIR):
                                                                                  , do solemnly swear (or affirm) that I will support and defend
         the Constitution of the United States and the State of                                             against all enemies, foreign and
         domestic; that I will bear true faith and allegiance to the same; and that I will obey the orders of the President of the United States
         and the Govemor of                                             and the orders of the officers appointed over me, according to law
         and regulations. So help me God.

         17. IN THE NATIONAL GUARD (ARMY OR AIR):
              I do hereby acknowledge to have voluntarily enlisted/reenlistedthis             day of
         in the                                                 National Guard and as a Reserve of the United States (list branch of service)
                                                                                    with membership in the
         National Guard of the United States for a period of              years,             months,                       days, under the
         conditions prescribed by law, unless sooner discharged by proper authority.

         18.a. SIGNATURE OF ENLISTE        EENLIS                                             b. DATE SIGNED (YYYYMMDD)
                                                                                                                    20191021

         19. NLISTMEN EENLIST                T OFFICER CERTIFICATION
          a. The above o       as admi      red, subscribed, and duly sworn to (or affirmed) before me this date.
          b. NAME(Last,       Middle)                           c. PAY GRADE                d. UNIT/COMMAND NAME
           SARTORI,TIMOTHYEMILE                                            0-5                 US Army ROTC, Northern Arizona University
          e. SIGNATURE                                           f. DATE SIGNED               g. UNIT/COMMAND ADDRESS          (City, State, ZIP Code)
                                                                   (YYYYMMDD)

                                                                         20191021              FLAGSTAFF, AZ 86011-6043

          (Initials of Enl    eenlistee)
         DD FORM 412, OCT 2007                                    PREVIOUS EDITION IS OBSOLETE.
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     NAME OF ENLISTEE/REENLISTEE         (Last,first,Mlddle)                                     SOCIAL SECURITY NO. OF ENLISTEE/REENLISTEE
      Davis, Audrey, Elizabeth

                                     F. DISCHARGE FROM/DELAYED ENTRY/ENLISTMENTPROGRAM

     20a. I request to be discharged from the Delayed Entry/EnlistmentProgram (DEP) and enlisted in the Regular Component of the
     United States (listbranchof service)                                                           for a period of                      years and
                          weeks. No changes have been made to my enlistment options OR if changes were made they are recorded on
      Annex(es)


      which replace(s) Annex(es)



      b. SIGNATURE OF DELAYED ENTRY/ENLISTMENT PROGRAM ENLISTEE                               c. DATE SIGNED (YYYYMMDD)



                                   G. APPROVAL AND ACCEPTANCE BY SERVICE REPRESENTATIVE
     21. SERVICE REPRESENTATIVE CERTIFICATION
      a. This enlistee is discharged from the Reserve Component shown in item 8 and is accepted for enlistment in the Regular

     Component of the United States (list branch of service)                                                          in pay grade

      b. NAME(Last,First,Middle)                                  c. PAY GRADE                d. UNIT/COMMANDNAME

      e. SIGNATURE                                                f. DATE SIGNED              g. UNIT/COMMAND ADDRESS        (City, State, ZIP Code)
                                                                   (YYYYMMDD)



                                         H. CONFIRMATIONOF ENLISTMENTOR REENLISTMENT

     22a. IN A REGULAR COMPONENTOF THE ARMED FORCES:

           l,                                                                      do solemnly swear (or affirm) that I will support and defend

     the Constitution of the United States against all enemies, foreign and domestic; that I will bear true faith and allegiance to the same;

     and that I will obey the orders of the President of the United States and the orders of the officers appointed over me, according to

     regulations and the IJniform Code of MilitaryJustice. So help me God.


      b. SIGNATURE OF ENLISTEE'REENLISTEE                                                    c. DATE SIGNED (YYYYMMDD)



     23. ENLISTMENT OFFICER CERTIFICATION
      a. The above oath was administered, subscribed, and duly sworn to (or affirmed) before me this date.
     b. NAME (Last, First, Wdde)                                 c. PAY GRADE                d. UNIT/COMMAND NAME

     e. SIGNATURE                                                f. DATE SIGNED              g. UNIT/COMMAND ADDRESS         (City. state ZIP Code)
                                                                   (YYYYMMDD)




      (Inmals of Enlistee,'Reenffstee)
    DD FORM 43, OCT 2007                                       PREVIOUS EDITION IS OBSOLETE,
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                                              EXHIBIT 2
                                                  DA Form 597-3
DocuSign Envelope ID: DA60A084-E04A-4D78-8EDA-B90086B2BB27
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                  ARMY SENIOR RESERVE OFFICERS' TRAININGCORPS (ROTC) SCHOLARSHIP CADET CONTRACT
                                                 For use of this form see AR 145-1; the proponent agency is DCS G-1

                                                        DATA REQUIREDBY THE PRIVACY ACT OF 1974
         AUTHORITY:              Title 10, use Sections 2005, 2101 through2111. and 3013. Title 5, USC, Section 301.
         PRINCIPAL    PURPOSE:   To specify the contractual agreements and obligations and to document contracting in the Army Senior Reserve
                                 Officers' Training Corps Scholarship Program.

          ROUTINEUSES:           This form will be maintained in the cadet's MilitaryPersonnel Records Jacket and becomes a permanent part of the official
                                 personnel records as confirmation of enrollment, contracting, obligation and agreements.

          DISCLOSURE:            Disclosure of the informationrequested in this contract is voluntary. However, applicable portions must be
                                 com leted if ou desire to be enrolledin the Arm ROTC Scholarshi Pro ram.
                                                                           PREAMBLE
         This contract represents an agreement entered into between the United States Army and the Reserve Officers' Training
         Corps (ROTC) scholarship recipient (cadet) named herein, with the consent of the parent or guardian if the cadet is
         under the age of 18, to effect the cadet's participation in the Army Reserve Officers' Training Corps Program. It is hereby
         agreed by both parties, the United States Army and the Cadet, that the sole purpose of the ROTC scholarship program is
         to produce officers for the United States Army. Entry into this program is a serious commitment. This commitment must
         be made with the resolve to attain a commission. If there are any doubts about the prospective cadet's ability or
         determination to fulfill the terms of this contract, then this contract should not be executed. In consideration of the mutual
         benefits, which will accrue to the parties hereto by reason of the cadet's participation in the Army ROTC and later service
         in the United States Army, the parties agree to the terms below.


                                                                           CONTRACT
         A STUDENTS NAME (Last, First, Ml)                                       D. NAME OF EDUCATIONAL INSTITUTION
         Davis, Audrey, E.                                                       Embry Riddle Aeronautical University
         B. SSN                                                                  E. ADDRESS OF EDUCATIONAL INSTITUTION
                                                                                 NORTHERN ARIZONA UNIVERSITY
         C. DATE OF BIRTH (YYYYMMDD)                                             DEPARTMENT OF MILITARY SCIENCE
                                                                                 P.o. BOX 6043,FLAGSTAFF, AZ, 86011-6043
         F. DATE EDUCATION                   G. COMPLETION DATE                  H. ADDRESS OF RECORD               (IncludeZIP code)
         COMMENCES (YYYYMMDD)                (YYYYMMDD)
                                                                                 1103 OvrC1iffDr., Apex, NC 27502
                     20180827                           20221212
         l. ACADEMIC MAJOR IN V%ICH DEGREE IS TO BE ATTAINED

         Aerospace Engineering
         J. EXTENDED BENEFITS                  PERIOD COVERED                    L. DATE APPROVED                      M.AUTHORIZED
         RECEIVED                                                                (YYYYMMDD)


                                                    PART I - AGREEMENT OF THE DEPARTMENT OF ARMY
         1.                                                      NTS In consideration of the agreement in Part Il below, the Department
         of the Amy agrees to—

                 a,                                             Pay for a period of            3        academic years (provided funds are
         appropriated by Congress) the following:

                           (1) TUITION AND FEES.           Tuition and educational fees up to an annual amount of $
                                                                                                                                    Full Tuition
                                                                                                                                    and Fees
                          (2) BOOKS AND LABORATORY EXPENSES. A flat rateof$ 1,200.00 , which may increase
         during the period of this contract, will be reimbursed as established on an annual basis by the U.S. Army Cadet
         Command, for texåbooks, and laboratory expenses. This will be payable on the first day of enrollment for all returning or
         previously enrolled cadets. The flat rate for new award winners will be paid promptly upon completion of the 45-day
         requirement or upon validation of the scholarship contract whichever is later. (Any items the cadet believes are needed
         that would exceed this rate must be purchased with other than Army funds.)


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                                         PART I - AGREEMENT OF THE DEPARTMENT OF THE ARMY(Continued)
                (3) PAYMENT TERMS.

                       (a) Scholarship payment for tuitions and fees will be made if the cadet remains actively enrolled as a
          scholarship student on the 45th day after the start of each academic year. The 45-day waiting period applies only
          to the first term of each academic year (usually the Fall semester/quarterJThe waiting period will not apply to the
          second semester or to second/third quarters. If the cadet enters into a scholarship contract after the 45th day of
           the first term of the academic year, he or she is immediately eligible for scholarship benefits payments.

                         (b) After the 45-day waiting period, payment for tuition and fees will be made to the beginning of the
           term, or the date the cadet began the term, whichever is later, provided that this contract is consummated before
           the end of that term.

                          (c) If the educational institution will not defer the payment of tuition and other fees until the 45th day
           after the start of classes, the cadet is responsible for payment of the tuition and fees. The Army is not obligated
           to pay any late fee incurred as a result of the cadet's failure to pay the costs of tuitionand fees prior to the 45th
           day.

                  b. PAY MONTHLY SUBSISTENCE. Pay a subsistence allowancefor participationin the scholarship
           program for 10 months of any academic year (or the actual duration of the academic year, whichever is shoner)
           at the rate of $    420.00    per month for MS I cadets; $ 420.00 per month for MS Il cadets; $             420.00     per
           monthfor MS Ill cadets; $ 420.00 per monthfor MS IV cadets; and $ 420.00 for MS V cadets. These
           rates are generally prescribed by law and implementedby the Secretary of Defense and may change during the period
           of this contract. Entitlement is not to exceed—

                              (1) 50 months for a 5-year scholarship. (or extended benefits under 4-year scholarship)

                              (2) 40 months for a 4-year scholarship.

                              (3) 30 months for a 3-year scholarship.

                              (4) 20 months for a 2-year scholarship.


                    c. PAY FOR ATTENDANCE AT LEADER DEVELOPMENTAND ASSESSMENT COURSE                                   a-DAC). Provide
            a daily rate of pay, which is prescribed by law for cadets of the United States MilitaryAcademy and implementedby
            the Department of Defense Military Pay and Allowance EntitlementsManual (DODPM), for the period that the cadet
            attendsLDAC.

            NOTE: Payment for travel from the cadet's home of record to the school listed above is not authorized under this
            scholarship contract. (EXCEPTION: The only exception is for four-year, MilitaryJunior Colleges (MJC), and
            Green-to-Gold scholarship recipients who are paid for one time travel from home of record to school to accept an
            appointment as a scholarship cadet and to enlist in the USAR Control Group (ROTC)).
                                                                                                                 Training.
                    d. PROVIDE TRAINING . Provide the cadet with U.S. Army-sponsored and -funded Reserve Officer
                                                                                                 . The obligated period of active duty
                                                                                                                       or
            this contract requires may be delayed upon commissioning, if the cadet's application for resident graduate
            professional study is approved, until completionof the authorized delay.

                   f. COMMISSION AS AN OFFICER . Upon satisfactorycompletionof the academic, military,and all other
                                                                                                                          of
            requirements of the Army ROTC program, a cadet may be appointed as a reserve officer in the Army in the grade
            second lieutenant.
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                            PART Il - AGREEMENT OF SCHOLARSHIP CADET CONTRACTING IN THE SENIOR ROTC PROGRAM
           2. GENERAL-GAPELAGREEMEN.I.             As the ROTC scholarship cadet named above, I hereby agree to do the
           following:

                    as ENLIS.IMEN.LAG.RE.EMEN.I. As a condition for membership in the Army ROTC Program, I agree to
           enlist in the Reserve Component of the United States Army (with an assignment to the USAR Control Group
           (ROTC)) for a period prescribed by the Secretary of the Army.

                        ENRQLLME.NLA.GREEMENI.         I agree to enroll in the necessary courses and successfully complete,
           within the prescribed time, the requirements for the degree in the academic major stated above. I agree to remain
           enrolled in and successfully complete the ROTC program, including LDAC and all training as prescribed by the
           Secretary of the Army or his/her designee, as a prerequisite for commissioning.

                    c• EULL.:.IIM.E-SI.UPENLAG.REEMENT.        I agree to remain a full-time student in good standing at the
           educational institution named above until I receive my degree. A full-time student is defined as one enrolled in
           sufficient academic courses to obtain sophomore, junior, and senior academic status at the end of each appropriate
           one-academic-year increment for the duration of the scholarship. This includes the required Army ROTC classes,
           which may be part of or in addition to those courses required for my degree. If I desire to transfer to another
           institution or take a leave of absence from the continuous performance of this contract, I agree to obtain prior written
           approval from the Professor of Military Science (PMS).

                    d.                                                       . I agree to maintain, at a minimum, a cumulative
           academic grade point average of 2.0 on a 4.0 or equivalent scale. This grade point average must also be
           maintained for each semester or quarter. If I am required by my academic major or by the school I am attending to
           maintain a higher cumulative and semester or quarter grade point average, I agree to maintain that higher standard
           until the completion of the academic requirements for my degree. I understand and agree that failure to maintain
           the minimum academic grade point average may subject me to disenrollment from the ROTC program.

                                                                                  . I agree to maintain at least a 2.0 on a 4.0
           or equivalent scale, cumulative and semester or quarter academic grade point average in all ROTC courses. I
           understand and agree that failure to maintain the minimum ROTC courses grade point average may subject me to
           disenrollment from the ROTC program.

                   f. MEDICAL AND PHYSICAL FITNESS STANDARDS

                           (1) I agree to maintain eligibility for enrollment and retention in ROTC and commissioning, as
          defined by statute, Army regulation, and this contract, throughout the period of this contract. I agree to meet and
          maintain the Army Physical Fitness Test (APFT) standard and the screening weight or body fat percentage required
          by the Army Weight Control Program as required of active duty soldiers each year and prior to attendance at ROTC
          LDAC. These will be continuous requirements that I must continue to meet until the date that I report to Officer
          Basic Course (OBC) or a Reserve Component unit and thereafter. Commissioning eligibility standards, including
          the APFT and Army Weight Control Program standards, are subject to change, and I must keep myself informed of
          such changes through contact with the PMS. I understand and agree that failure to maintain the weight and
          physical fitness requirements may subject me to disenrollment from the ROTC program.

                         (2) I agree to undergo precommissioning drug and alcohol screening tests, normally administered
          during LDAC training, or as may otherwise be prescribed by U.S. Army Cadet Command. If the result of any test is
           positive, I will be subject to disenrollment from the ROTC program.

                          (3) I agree to undergo testing for HIV (Human Immunodeficiency Virus) antibody during my
          precommissioning physical examination; normally during LDAC training or as the U.S. Army Cadet Command may
          otherwise prescribe. If the result of the testing is confirmed positive, I will be disenrolled from the ROTC program.




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                          PART Il - AGREEMENT OF SCHOLARSHIP CADET CONTRACTING IN THE SENIOR ROTC PROGRAM (Continued)
                     g.                                                                                                        ENT.       I
             agree, if I am a nurse candidate or a medical specialist corps cadet, to complete a baccalaureate program from an
             accredited and approved educational institutionwith an academic and clinical curriculum in English. I also agree to
             complete my ROTC training requirementsby my projectedcommissioning date and accept, if offered,a commission
             in the USAR. I further understand that if selected for active duty in the Army Nurse Corps or Army Medical
                                                                                                                                Specialist
             Corps, I must first pass the professional degree and licensing exam requirements set forth in relevant Army
             regulations prior to entry on active duty for my particular specialty. If a nurse cadet, I will take the exam not
                                                                                                                                 later than
             60 days after graduation. If I fail the exam, I must retake it within 120 days after the first exam. If I fail my nurse
             licensing examination for the second time, I will be branched based on the needs of the Army.

             3. AQQIIIQNAL-T.ERMSANP-CQ.NPII.IQNS.                  I further understand that--

                     a. DISCLOSURE OF DISQUALIFYING CONDITIONS. By executing this contract,I representthat I meet all
             eligibility criteria for contracting in the ROTC Program and commissioning, as defined by statute, Army regulation, and
             this contract. I represent that I have disclosed or will disclose any and all pre-existing medical conditions and
             non-medical conditions that would make me ineligible for enrollment in the ROTC program as specified in statute,
             Army regulation (including but not limited to AR 145-1)s and this contract. If I am ineligible for contracting in ROTC
             based on a particular medical or non-medical condition, but such ineligibility may be waived, I must obtain an
             approved waiver before executing this contract. Failure to have disclosed or to disclose any disqualifying condition,
             including any conditions I should have known about, will subject me to disenrollment from the ROTC program and
             possible recoupment of scholarship benefits. I certify that I have been notified of the Department of Defense
             Homosexual Conduct Policy, and I understandthat my sexual orientationdoes not make me ineligible for contracting
             with the Army. Therefore, nothing in this paragraph requires a disclosure of my sexual orientation in violation of the
             Departmentof Defense Homosexual Conduct Policy as addressed in AR 600-20.

                     b. NATURE OF DUTIES AND CONSCIENTIOUS OBJECTOR STATUS                         Myacceptanceofthetermsand
             conditions of this agreement signifies my readiness to bear arms, to engage in and support combat operations
             and to operate and support operations of approved weapons systems. If I at any time apply for and receive
             conscientious objector status, I will be disenrolled from the program. If conscientious objector status is
             approved, my failure to complete the service obligation within this contract will result in my disenrollment, at
             which point I may be required to reimburse the United States Government for advanced educational assistance
             expended on my behalf.

                     c. CADET OBLIGATION.

                                (l) CAP-EIS. I understand and agree that I will incur an active duty and/or reimbursement obligation
             after the first day of my MS Il year (sophomore year) if I am a three-, four- or five-year scholarship recipient; after the
             first day of my MS Ill year (junioryear) if I am a two-year scholarship recipient;or after the first day of my MS IV year
             (senior year) if I am a one-year or less scholarship recipient.

                             (2) GREEN-TO-GOLD CADETS            If I was conditionallydischarged from the active Army to become a
             scholarship recipient, I am obligated and may not voluntarily withdraw from the ROTC program from the date of
             discharge without incurring an active duty or reimbursement obligation.

                                      (a) If I am an MS l/freshmanand I am disenrolledfrom the ROTC Program for any reason, I
             may be returned to active duty for the time not served on my original active duty enlistment when I was separated to
             accept the ROTC scholarship. If I have less than one year remaining on my original active duty enlistment and am
             not returned to active duty, I may be required to repay scholarship funds expended on my behalf.

                                      (b) If I am in the ROTC program beyond the MSI/freshman year and am disenrolled, I may be
             returned to active duty or I may be involuntarily ordered to active duty as stipulated in paragraph 6 of this contract. In
             case of personal hardship, I may request return to active duty in my enlisted status to serve



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                       PART Il - AGREEMENT OF SCHOLARSHIP CADET CONTRACTING IN THE SENIOR ROTC PROGRAM (Continued
            out the time remaining on my original active duty enlistment contract instead of the active duty obligation stipulated
            in paragraph 6 of this contract.

            NOTE: If I am a cadet with prior service, I understand that I will be required to serve any unexpired portion of my
            previous statutory enlistment obligation. The unexpired portion of my previous statutory enlistment obligation runs
            concurrently with my contractual military service obligation under this contract.

            4. CADET AGREEMENTS UPON PROGRAM COMPLETION. upon completionof all requirementsfor
            appointment, to include medical qualification, all prescribed military science courses, LDAC and any other training
            that may be prescribed by the Secretary of the Army or his or her designee, I agree to, as prescribed by the
            Secretary of the Army, complete the following requirements:

                    a. AGEE-IAN.G.E-Q.E..AEEQI.N.I.MEN.T. I agree to accept an appointment,if offered,as a commissioned
            officer in the USAR or ARNGUS, in accordance with governing Army regulations. I understand that upon
            appointment, I will incur a total military service obligation not to exceed eight (8) years and cannot resign such
            appointment before completion; however, this obligation may be met in a variety of ways as outlined below. I
            further understand that active duty service may include worldwide assignment and assignment that involves
            combat or exposure to nuclear, chemical, or biological weapons.

                            (1) ACTIVE DUTY ASSIGNMENT, Serve up to 4 years on active dutyas a commissionedofficer
           in the U.S. Army or for a period as prescribed by relevant Army regulations based on the needs of the Army,
           followed by service in the Reserve Component as set forth in relevant Army regulations, until the remainder of my
           eight-year contractual military service obligation has been served.

                            (2)                                               ENT. Serve a short period of active duty or active
           duty training if appointed for duty in a Reserve Component.   If I am not selected for extended active duty, I will
           complete an officer's basic course for branch qualification. This will be followed by service in a Reserve
           Component Unit (ARNGUS or USAR), which has Monthly Unit Training Assemblies and an annual training period
           of approximately two weeks until the remainder of my contractual military service obligation has been served.

                            (3)                                                                 . If I am fulfilling my
           obligation through Reserve Component    duty and  an appropriate troop program unit assignment    is not available or
           becomes unavailable in either the U.S. Army Reserve or the Army National Guard of the United States, I agree to
           participate as a member of the Individual Mobilization Augmentee (IMA) program by serving at least twelve (12)
           days, excluding travel time, on annual training each fiscal year as directed by the Human Resources Command
           - St. Louis (HRC-St Louis). If it is determined that neither an appropriate unit nor an IMA assignment is available, I
           agree to participate as a member of the Individual Ready Reserve (IRR) by serving up to twelve (12) days of
           training each fiscal year until such time as an appropriate unit or IMA assignment becomes available or until the
           expiration of my contractual military service obligation. I may be required to travel the distance specified in Army
           regulations to fulfill my contractual military service obligation.

                            (4) THE ARMY NATIONAL GUARD COMBAT REFORM INITIATIVE                        (ANQCRL). If I am offered
           the opportunity to participate in the Army National Guard Combat Reform Initiative (ANGCRI), I understand and
           agree that in return for participation in the ANGCRI program, I will serve my remaining service obligation in an
           Army National Guard unit, in lieu of completing my active duty service obligation, including mandatory service
           requirements as prescribed by Federal statute, Army regulation, and my ROTC contract. Furthermore, if I
           voluntarily, or because of misconduct, fail to complete my obligated Reserve service in an Army National Guard
                                                                                                                       or the
           unit, the Army may require me to return to active duty to complete the remainder of my service obligation
           Army may seek recoupmentagainst me.
                                                                                                        I understand that I may apply
           for a Reserve  Component     appointment   and request service  on active duty or service  with a Reserve Component
           Unit (ARNGUS or USAR) at my discretion. However, my          selection for the appointment    and service shall be
           determined according to the needs of the Army     at the time that my  requested  appointment    is considered. Further,
           specific career field choices and   branch assignments   cannot  be guaranteed   but will be made   according to the
           needs of the Army no    earlier than 12 months  before commissioning.


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                       PART Il - AGREEMENT OF SCHOLARSHIP CADET CONTRACTING IN THE SENIOR ROTC PROGRAM(Continued)
                  c. If granted scholarship benefits beyond four years, I am obligated to serve an additional period of active
           duty equivalent to any scholarship entitlements extended beyond four years, e.g., six months for each additional
           semester of financial assistance granted (or four months for each additional quarter of financial assistance granted).


           5. IERM.S-QE-PISENRQLLMENI.          I understand and agree that once I become obligated and I am disenrolled from
           the ROTC program for breach of contractual terms or any other disenrollment criteria established now or in the future
           by Army regulations (which include, but are not limited to, AR 145-1) incorporated herein by reference, I am subject
           to the terms in paragraphs 5a through 5e below—

                  a.                                                         . IJnder the terms of this contract, the Secretary of
           the Army or his or her designee, may order me to active duty as an enlisted soldier, if I am qualified, for a period of
           not more than four (4) years if I fail to complete the ROTC program. If I am disenrolled after the point of obligation, I
           may be ordered to active duty for one of the periods listed in paragraph 6 below based upon the year during which
           my disenrollment was initiated;

                    b.                                                                   ENT.        If I am offered the opportunity to
           repay my advanced educational assistance in lieu of being ordered to active duty, I will be required to reimburse the
           United States government through repayment of an amount of money, plus interest, equal to the entire amount of
           financial assistance (to include tuition, educational fees, books, laboratory expenses, and supplies), paid by the
           United States for my advanced education from the commencement of this contractual agreement to the date of my
           disenrollment or refusal to accept a commission. This amount includes any financial assistance I may have received
           prior to my obligation point. I agree that any money I am determined to owe to the United States shall bear interest at
           the rate equal to the highest rate being paid by the United States on securities having maturity dates of ninety days or
           less and shall accrue from the day that I am first notified of the amount I owe to the United States as reimbursement
           under this contract. I understand that I may be deemed to have failed to comply with the terms and conditions of this
           contract (breach of contract) regardless of whether I knew that the failure violated the contract and regardless of
           whether the failure was the result of an act or omission on my part made with a specific intent to avoid responsibilities
           under the contract.

                   c. FAILURE TO COMPLETE REQUIRED SERVICE OBLIGATION I understandand agree that if I
           voluntarily or because of misconduct fail to begin or fail to complete any period of active duty or duty in a reserve
           status not on active duty that I have incurred under this contract whether as an officer or an enlisted soldier, I will be
           required to reimburse the United States an amount of money, plus interest, that is equal to or bears the same ratio to
           the total cost of the financial assistance provided to me by the United States as the unserved portion of such duty
           bears to the total period of such duty I was obligated to serve.

                   d.                                                                              . I may not enlist in the
           active Army, another militaryservice, or in a militaryservice academy while I am a contractedROTC cadet unless I
           am properly released from my ROTC cadet status.


           ENLIS.IED-QU.IY.     If I am disenrolled from ROTC, I understand the Secretary of the Army, or his or her designee,
           retains the prerogative to either order me to active duty or order monetary repayment of my scholarship benefits.
           Therefore, if I am required to repay my advanced educational assistance under the terms of this contract, my
           subsequent enlistment in an Armed Service will not relieve me from my repayment obligation.

           6. ENLISTED ACTIVE DUTY SERVICE OBLIGATIONS                  If I am called to active duty for breach of contract under
           the provisions of paragraph 5, above, I will be ordered to active duty for one of the periods listed below, based upon
           the year during which the breach occurs -

                   a. During MS Il, 2 years;

                   b. During MS Ill, 3 years;




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                       PART Il - AGREEMENT OF SCHOLARSHIP CADET CONTRACTING IN THE SENIOR ROTC PROGRAM (Continued)
                   c. DuringMS IV, 4 years;

                   d. After completionof MS IV, 4 years if I was a 2, 3, or 4-year scholarship recipient;

                   e. Scholarship recipients who are granted extended scholarship benefits beyond 4 years incur an additional
           active duty service obligation equivalent to the length of the extended period of scholarship benefits.

                   f. Any unexpired portion of my enlistment obligation remaining after such active duty must be served in a
           Reserve Component.
           7.                                                                                            FITS.    If my scholarship
           benefits are temporarily inactivated by a leave of absence or administrative suspension, or are terminated due to my
           failure to meet academic or military retention standards for scholarship cadets, as prescribed by law, Army
           regulation, or this contract; I will not be relieved of my obligation to the U.S. Army and my obligations under this
           contract remain in effect. If my ROTC scholarship contract is terminated for any reason, but I am qualified and am
           allowed to remain in the ROTC program as a nonscholarship cadet, I understand that I will not be required to
           reimburse the United States for any financial assistance I received provided that I successfully completed the ROTC
           program and all of the active duty and duty in a reserve status not on active duty for which I am obligated under the
           provisions of this scholarship contract.

           8. RELEASE FROM OBLIGATIONS. I understandthat the Secretary of the Army or his/her designee may at any
           time release me without notice from the obligations under this contract and disenroll me from the ROTC Program
           without further benefits hereunder if, in the opinion of the Secretary of the Army or his or her designee, it is in the
           best interest of the Army.

           9.                                                                        ENTS. I acknowledge that I have discussed
           the eligibility requirements pertaining to enrollment in ROTC, enlistment in the USAR or ARNG, and accepting a
           commission as an officer, with the PMS or other designated and authorized ROTC cadre member, and that I
           understand these requirements. I realize that these requirements may change in the future. I agree to keep myself
           apprised of all changes in requirements and to maintain my eligibility to participate in ROTC at all times in the future.
           I also agree to inform the PMS of any change in my eligibility (medical and non-medical) based on current or
           revised requirementsas soon as I know or should have known of a change in my eligibility status. Failure to so
           advise the PMS may result in disenrollment. Nothing in this paragraph requires a disclosure in violation of the
           Departmentof Defense Homosexual Conduct Policy as addressed in AR 600-20.

           10. DECLABAIIQN-Q.E-EANKRUEICY.           I understand that the cost of my education under this program is, for all
           purposes, a debt owed to the United States and entered into voluntarily on my part which, under the provisions of
           Title 10, United States Code, Section 2005, Subsection (d), may not voluntarilybe discharged by my declaration of
           bankruptcy if less than five(5) years after the last day of the specified period of active duty.

           11. ORDER TO ACTIVE DUTY IN THE EVENT OF A WAR                    I understandthateitheras an enlistedmemberor as
           a commissioned officer in the Reserve Component of the Army of the United States or upon my transfer or
           assignment thereto, I may be ordered to active duty without my consent in the event of a war, a national emergency
           declared by Congress or the President, an order of the Selected Reserve to active duty authorized by the President,
           and as otherwise authorized by law, such call to active duty could be for the duration of a war or any period of time
           authorized by law.

           12.                                                   . I understand the provisions in the contract contain the only
           binding promises by and to both parties. This agreement controls over any conflicting advice or information that I
           may have received orally or in writing from Cadet Command, my PMS, other cadre, cadets or others regarding my
           obligations and agreements to the Army. If any provision within this agreement is determined to be invalid or
           unenforceable by a court of law, the remaining terms and agreements remain in full force and effect.




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                     PART Il - AGREEMENT OF SCHOLARSHIP CADET CONTRACTING IN THE SENIOR ROTC PROGRAM(Continued)
          N. HOMEADDRESS (IncludeZIP code)                      O. SIGNATU E
           1103 OverCliffDr., Apex, NC 27502

                                                                               P. DATE (YYYYM D)

                                                                                                            20191021
                        PART Ill - CONSENT OF PARENT OR GUARDIANTO CONTRACT IN ROTC AND ENLIST IN THE U.S. ARMY RESERVE
                               (To be completed if applicant is under 18 years of age at time of contracting in the ROTCprogram)
              13. I certify that I am the applicant's parent or legal guardian, and that the applicant's date of birth as shown above
              is correct.

              14. I consent to applicant's enrollment in the ROTC and to enlistment in the USAR.

              15. I have read and thoroughly understand the above statements of terms under which the applicant is being
              enrolled, including all statutes, directives, and regulations, incorporated by reference. I relinquish all claims to
              applicant's service and to any wages or compensation for such service. I understand that the applicant will be
              subject to all of the requirements and lawful commands of the officers who may from time to time be placed over
              the applicant, and I certify that no promise of any kind has been made to me concerning the applicant's assignment
              to duty or appointment as an officer as an inducement to me to sign this contract.


          Q. SIGNATURE OF PARENT OR GUARDIAN                  R. SIGNATURE OF WITNESS                               S. DATE (YYYYMMDD)



                                       PART IV - CONFIRMATIONOF ENROLLMENTAS AN ROTC SCHOLARSHIPCADET
                                               (And of Enrollment in the ROTCProgram, If not previously enrolled)

              16. On the basis of the above executed contract (Part Il), the above named                            T. EFFECTIVE DATE OF
                                                                                                                    ENROLLMENT (YYYYMMDD)
              applicant's selection for the award of the financial assistance indicated (Pan l), and
              the executed consent of the parent or guardian (Part Ill) if applicable, I have selected                       20191021
              and enrolled this applicant as a cadet in the ROTC Program on the effective date of
              enrollment in item T.
                                                PART V - FOR THE SECRETARY OF THE ARMY
           U. NAMEOF ROTC CONTRACTING OFFICIAL (Printor Type)                                                       W. DATE (YYYYMMDD)

           TIMOTHY EMILE SARTORI, LTC, AV, Professor ofMilitary Science
                                                                                                                             20191021
          V. SIGNATUREOF RO         OFFICI




          DA FORM 597-3, JUL 2005                                                                                                       Page 8 of 8
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                                              EXHIBIT 3
                                                             Orders
                                                                                                                                                                      I
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